UNDER SEAL ofRRLOTTE, N.C.

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_ UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA |
U. $. DISTRICT COURT
CHARLOTTE DIVISION W. DIST. OF N.C

UNITED STATES OF AMERICA ) FILED UNDER SEAL
) DOCKET NO. 3:06CR84-
Vv. )
) AMENDED
HAISSAM NASHAR, a/k/a “Sam” } PLEA AGREEMENT
}

 

The United States of America, by and through Gretchen C. F. Shappert, United States
Attorney for the Western District of North Carolina, and the defendant, HAISSAM NASHAR, a/k/a
“Sam Nashar,” in person and through counsel, Lyle Yurko, respectfully inform the court that they
have reached the following agreement pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C), which agreement supersedes and supplants the plea agreement filed in this matter on
or about April 26, 2006:

I. Plea

l. The defendant agrees to enter a voluntary plea of guilty to Counts One and Two in the
Superseding Bill of Information, and admits to being in fact guilty as charged in those counts.

2. After sentence is announced, the United States will move to dismiss the charges against the
defendant in the Superseding Bill of Indictment, United States v. Nashar, W.D.N.C. Case
No. 3:05CR376-C and in the original Bill of Information in this cause.

II. Sentence

3. Because this plea is offered pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), if
the court accepts the plea agreement, the court may not impose a greater sentence than that
agreed by the parties in this plea agreement. Not all forms of punishment have been agreed
by the parties to be binding. Therefore, the defendant is aware that the statutory maximum
sentences for each count are as follows:

Count One: (Hobbs Act Conspiracy — 18 U.S.C. § 1951): a $250,000 fine, and no
more than twenty years imprisonment, or both; and no more than five years
supervised release.

Count Two: (Felon in possession of a firearm — 18 U.S.C. § 922(g)): a $250,000
fine, and no more than 10 years imprisonment, or both; and no more than three years
supervised release.

 

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The defendant understands that supervised release is a term of supervision that runs
consecutively to any sentence of incarceration and that if the court imposes a term of
supervised release, the United States Probation Office will supervise him during that term
and will require that he make regular reports and visits to its office. The defendant
understands that a violation of the conditions of supervised release may subject him to an
additional period of incarceration up to the maximum term of years imposed as supervised
release.

The defendant is aware that the court will consider the United States Sentencing Guidelines
{U.S.S.G_] in determining the appropriate sentence and that the sentence will be without
parole. However, pursuant to Rule 11(¢)(1)(C) of the Federal Rules of Criminal Procedure,
if the court accepts this plea agreement, the maximum punishment the court may impose in
this case will be limited by the terms of this plea agreement. The defendant understands that
not all the terms of this plea agreement are binding recommendations that must be accepted
by the court. The court will not be bound by any provision of this agreement unless the
provision explicitly states that it is binding. Unless limited by a binding recommendation,
the court may impose any form of punishment permitted by law.

With regard to the United States Sentencing Guidelines, the defendant and the United States,
pursuant to Fed. R. Crim P. 11(c\(1K(C), stipulate and agree to the following:

a. Count 1: Sentencing Calculations

1. Base offense level - Hobbs Act extortion +18
(U.S.S.G. § 2B3.2(a))

ii. Express or implied threat of death or bodily harm +2
(U.S.S.G. § 2B3.2(b)(1))

iii. Loss to victims (more than $250,000) +3
(U.S.S.G. § 2B3.2(b){2))

iv. Firearm discharged +7
(U.S.S.G. § 2B3.2(b}3) AD)

 

Adjusted Offense Level 30
b. Count 2 Sentencing Calculations
Base offense level (felon in possession) +14

(U.S.S.G. § 2K2.1(a)(6(A))

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c. Offender Adjustments
Timely Acceptance of Responsibility - 3

US.S.G. § 3E1.1(b)(2)

d. Based on this information known at the time of the plea, the parties stipulate that the
defendant’s criminal history category is ILL

e. Assuming that the defendant qualifies for a three-level reduction based on his timely
acceptance of responsibility and cooperation, the parties agree that the appropriate
Sentencing Guidelines range 1s 87 to 108 months imprisonment (offense level 27,
criminal history category IIT) and that 87 months imprisonment is the appropriate
sentence. The parties agree and make the binding recommendation that an
appropriate sentence for this defendant and the charged offenses and relevant
conduct includes 87 months imprisonment. The parties agree that, if the court
accepts this plea agreement, the sentence will be adjudged as specified above.
Neither party will seek a departure from that range or sentence. Except for the
binding terms above, the parties have no agreement limiting the court’s discretion as
to any other punishment authorized under Guideline Offense Level 27 or other
applicable law.

The defendant agrees to pay full restitution, regardless of the resulting loss amount, which
restitution will be included in the court’s Order of Judgment. The defendant agrees that such
restitution will include all victims directly or indirectly harmed by the defendant’s “relevant
conduct,” including conduct pertaining to any dismissed counts or uncharged conduct, as
defined by U.S.S.G. § 1B1.3, regardless of whether such conduct constitutes an “offense”
under 18 U.S.C. §§ 3663 or 3663A. The defendant consents to a civil judgment in state of
federal court concerning a claim filed by a “victim” as defined in 18 U.S.C. §§ 3663(a)(2)
and 3663A(a}(2). The defendant understands that with a Judgment and Commitment Order
that requires the payment of restitution, a lien will be filed on his property. Defendant also
understands that his obligation to make restitution shall last for twenty years after the entry
of the judgment, release from imprisonment, or until his death. 18 U.S.C. § 3613.

The defendant also agrees to cooperate fully with and make a full disclosure of all current
and projected assets and property to the United States Probation Office preparing his
Presentence Report. If the defendant is ordered to serve a term of supervised release or
probation, he agrees to make a full disclosure of his assets and property to the United States
Probation Office prior to the termination of his supervised release or probation. If the
defendant should fail to make the aforementioned full disclosures, then the United States will
be relieved of its obligations under the Plea Agreement, but the defendant will not be allowed
to withdraw his guilty plea.

The defendant agrees to truthfully complete a financial statement form provided by the
United States Attomey. The defendant shall date said form and sign it under penalty of

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perjury, thereby acknowledging that his financial statement fully and completely discloses
his financial condition as of the date it is signed. Defendant shall update the financial
statement with any material changes to his financial condition. Defendant shall provide his
signed and dated financial statement within 30 days of his signature on this plea agreement
and any updates within seven days of the event changing his financial condition. Defendant
understands and agrees that his financial statement will be used for the collection of any fine
or restitution ordered by the court, and the identification of property subject to forfeiture.

The parties agree that the court shall set the amount of fine and shall consider the Fine Table
in U.S.S.G. § 5E1.2 as advisory.

If more than $500.00 in restitution, fines, and/or assessment is owed to the United States
government, a lien will be filed. The defendant understands that if'a lien is filed against his

property, his obligation to pay restitution shall last for twenty years after any imprisonment
ordered or until his death. 18 U.S.C. § 3613.

The defendant hereby agrees to pay the total amount required for assessment ($100 per
count) to the Clerk, United States District Court, before 5:00 p.m. on the date of pleading
guilty, The defendant further agrees to participate in the Inmate Financial Responsibility
Program to the extent necessary to fulfill all financial obli gations due and owing under this
agreement and the law.

Ill. Procedure

The defendant agrees that a duly-qualified federal Magistrate Judge may conduct the hearing
required by Fed. R. Crim, P. 11.

With the court’s permission, the factual basis, as required by Fed. R. Crim. P. 1 1(b)(3), will
be deferred until the time of sentencing. The defendant stipulates that there is a factual basis
for the plea of guilty and that the court may use the offense conduct set out in the Presentence
Report, except any facts to which the defendant has objected, to establish a factual basis for
the defendant’s plea.

The defendant further agrees to execute a factual resume under oath that will include a
description of the facts which gave rise to the offenses charged in the Superseding Bill of
Information and any relevant conduct. The factual resume will admit all the elements of the
offenses charged in the Superseding Bill of Information and include the defendant's
acknowledgment that it fully and accurately describes his offenses and is true im all respects.
The factual resume may be used by the court in determining whether there is a factual basis
for the plea.

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IV. Waivers

The defendant understands and agrees that if he should fail to specifically perform or to
fulfill completely each and every one of his obligations under this Plea Agreement, then the
United States will be relieved of its obligations under the agreement, but the defendant will
not be allowed to withdraw his guilty plea.

The defendant is aware that the law provides certain limited rights to withdraw a plea of
guilty. The defendant has discussed these rights with defense counsel and knowingly and
expressly waives any right to withdraw the plea once the court has accepted it.

The defendant acknowledges that Federal Rule of Criminal Procedure 1 1(f} and Federal Rule
of Evidence 410 are rules which ordinarily limit the admissibility of statements made by a
defendant in the course of plea discussions or plea proceedings if a guilty plea is later
withdrawn. The defendant knowingly and voluntarily waives the rights which arise under
these Rules. As aresult of this waiver, he understands and agrees that any statements which
are made in the course of his guilty plea or in connection with his cooperation pursuant to
this plea agreement will be admissible against him for any purpose in any criminal or civil
proceeding if his guilty plea is subsequently withdrawn.

The defendant understands and agrees that by pleading guilty, he is expressly waiving the
following rights:

to be tried by a jury;

to be assisted by an attorney at trial;

to confront and cross-examine witnesses; and,
not to be compelled to incriminate himself.

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Defendant and defendant’s counsel warrant that they have discussed: (1) defendant’s rights
pursuant to 18 U.S.C. § 3742, 28 U.S.C. § 2255, and similar authorities to contest a
conviction and/or sentence through an appeal or post-conviction after entering into a plea
agreement; (2) whether or not there are potential issues which might be relevant to an appeal
or post-conviction action; and (3) the possible impact of any such issue on the desirability
to the defendant of entering into this plea agreement.

Defendant, in exchange for the concessions made by the United States in this plea agreement,
waives all such rights to contest the conviction and/or the sentence except for (1) claims of
ineffective assistance of counsel or (2) prosecutorial misconduct.

Also, in exchange for the concessions made by the United States, defendant agrees that the
United States preserves all its rights and duties with respect to appeal as set forth in 18
U.S.C. § 3742(b), while the defendant waives all rights to appeal or collaterally attack the

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sentence of conviction with three the exceptions set for above. This agreement does not limit
the United States in its comments in or responses to any post-conviction matters.

The defendant waives all rights, whether asserted directly or by a representative, to request
or to receive from any department or agency of the United States any records pertaining to
the investigation or prosecution of this case, including without limitation any records that
may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of
1974, 5 U.S.C. § 552a.

The defendant stipulates that any sentence that falls within the applicable guideline range as
determined by the United States Probation Office and pursuant to any departures from the
applicable range as recommended by the government is per se reasonable. The defendant
waives any tight to contest such a sentence on the basis that the court’s imposition of such
a sentence was unreasonable or an abuse of its discretion,

Y. Assistance to Government

If requested by the United States, but only if so requested, the defendant may agree to
cooperate with the United States, including but not limited to the following:

a. If cooperation is requested and agreed, the defendant will provide only truthful
information about the subject charges and about any other criminal activity within the
defendant’s knowledge to any government agent or agency that the United States
designates.

b. If cooperation is requested and agreed, the defendant will testify truthfully in any
trial, hearing, or grand jury proceeding, including, but not limited to, testimony
against any co-defendants, as the United States designates.

c. In the event that the defendant’s cooperation includes testifying, the defendant hereby
waives payment of any witness fees or expenses to which he may be otherwise
entitled pursuant to 28 U.S.C. § 1821.

d. The defendant understands that the United States desires only truthful and accurate
information and testimony and, in fact, that knowingly giving false information or
testimony can be prosecuted as an additional criminal offense.

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Further, if the defendant knowingly gives false testimony, the United States will be

relieved of its obligations under this Plea Agreement, except that the defendant’s plea
of guilty and the resulting guilty verdict will stand.

f. The defendant will not violate any federal, state, or local law, or any order of any
court, including any conditions of pretrial, pre-sentence, or post-sentence release.

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Nothing that the defendant discloses pursuant to this Plea Agreement will be used
against him in any other criminal proceeding, subject to the following exceptions:

1. the United States or other jurisdiction may use any and all relevant
information regarding crimes of violence;

ii. the United States may use any and all information as necessary ina
prosecution for perjury, or in any trial for impeachment or rebuttal;

iii. if the defendant withdraws his plea of guilty, the United States may
use any and all disclosures in any subsequent trials or criminal proceedings,

iv. ifthe defendant violates any of the terms of this Plea Agreement,
including the obligation to provide truthful information, then the United
States may use any and all disclosures in subsequent trials or criminal
proceedings; and,

v. the United States may make indirect use of any information that the
defendant provides, including investigative leads or other witnesses.

The defendant’s obligation under this section is a continuing one, and will continue
after sentencing until all investigations and/or prosecutions to which the defendant's
cooperation may be relevant have been completed. This provision is a material
condition of this Plea Agreement and of all benefits that accrue to the defendant
pursuant to this agreement.

The defendant fully understands that any breach of this agreement, including but not
limited to withholding information, misleading the United States or any law
enforcement officer, or failing to testify truthfully at any trial, grand jury, or other
judicial proceeding, will allow the government, in its sole discretion, to withdraw
from its obligations under this Plea Agreement. In such event, the United States will
be free to proceed on any properly-filed pending, superseding, or additional charges,
including any charges dismissed pursuant to this agreement.

24. When and if the defendant assists the government as described above:

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The United States Attorney for the Western District of North Carolina, in her sole
discretion, will determine whether said assistance has been substantial.

Upon a determination that the defendant has rendered substantial assistance, the
government may make a motion pursuant to U.S.S.G. § 5K1.1 for imposition of a
sentence below the applicable Sentencing Guidelines. The United States may also,

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within its sole discretion, move the court pursuant to 18 USL. § 3553(c) to impose
a sentence below any applicable statutory mandatory minimum. Any substantial
assistance or Rule 35 motion will require the approval of the United States Attorney.

c. Regardless of the nature and extent of any substantial assistance that the defendant
renders, the United States will not move for a downward departure if the defendant
also knowingly furnishes information that is materially false.

d. Any determination that the defendant has failed to provide substantial assistance or
has knowingly provided false information is within the sole discretion of the United
States, and the defendant waives all objections and rights of appeal or collateral
attack of such a determination.

€. The defendant understands that if the United States makes a motion for downward
departure, the motion is not binding on the court. The court will determine in its
discretion whether to grant or deny such departure and the extent of the departure.

Notwithstanding the above, the parties agreed and stipulate that the defendant has previously
provided substantial assistance to the United States in United States v. Hammoud, Cause No.
3:03¢5147, (W.D.N.C. July 7, 2000) for which he received a Guideline departure on a
previous sentence. The defendant will not receive any credit for that cooperation in this
agreement. The United States, however, agrees that it will notify U.S. immigration
authorities that the defendant cooperated in United States v. Hammoud. Nothing in this
agreement shall be construed as binding U.S. immigration authorities regarding the
defendant’s deportation or removal as a result of these offenses or any other offenses.

VI. Conclusion

The defendant understands that if he breaches this Plea Agreement, or violates any federal,
state or local law, or any order of any court, including any condition of pre-trial or pre-
sentence, or post-sentence release, the United States will be relieved of its obligations under
this Plea Agreement, but the defendant will not be allowed to withdraw his guilty plea. The

United States will be free to proceed on any properly-filed dismissed, pending, superseding,
or additional charges.

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27. There are no agreements, representations, or understandings between the parties in this case,
other than those explicitly set forth in this Plea Agreement and none will be entered into
unless executed in writing and signed by all parties.

SO AGREED:

 
  

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ETH M. SMITH, Assistant United States Attorney

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HAISSAM labia A a/k/a “Sam,” Defendant

 

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